245 F.2d 242
    Electa Ruth BENNETT, etc., Petitioner,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.Electa Ruth BENNETT, etc., and Chester Bennett, Petitioners,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.
    No. 12947.
    No. 12948.
    United States Court of Appeals Sixth Circuit.
    February 18, 1957.
    
      Petition to review decision of the Tax Court.
      Charles F. Hartsock, of Cors, Hair, Hartsock &amp; Schneider, Cincinnati, Ohio, for petitioner.
      Charles K. Rice, John Potts Barnes, Lee A. Jackson, I. Henry Kutz, Helen A. Buckley and Rollin H. Transue, Washington, D. C., for respondent.
      Before SIMONS, Chief Judge, and ALLEN and MILLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      These cases involve income tax deficiencies, together with fraud penalties, assessed against the petitioners for the years 1946 through 1949, arising out of the same circumstances involved in Schira v. Commissioner, 6 Cir., 240 F.2d 672. Petitioner, Electa Ruth Bennett, participated in the division of the proceeds obtained through the sale of the goods referred to therein. However, no contention is made in this case that the money received was not taxable income. The Tax Court upheld the assessments. T. C. Memo 1956-34, Docket Nos. 49637, 49638, February 15, 1956, Par. 56034 P-H Memo T.C.
    
    
      2
      For the reasons given by the Tax Court in its Memorandum Findings of Fact and Opinion, and in accordance with the views expressed by this Court in Schira v. Commissioner, supra, it is ordered that the judgments of the Tax Court be affirmed.
    
    